Fill in this information to identify your case:

Debtor 1          Thomas              Alton           Espinosa
                  __________________________________________________________________
                    First Name                    Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                    Middle Name            Last Name


United States Bankruptcy Court for the: Northern District
                                        __________        of California
                                                     District of __________

Case number         18-41652
                    ___________________________________________                                                                                Check if this is an
 (If known)                                                                                                                                       amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                             12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                  What do you intend to do with the property that     Did you claim the property
                                                                                      secures a debt?                                     as exempt on Schedule C?

          Creditor’s
                          Infiniti Financial Services                                
                                                                                     ✔ Surrender the property.                            
                                                                                                                                          ✔ No
          name:
                                                                                      Retain the property and redeem it.                  Yes
         Description of          Infinity QX 50
         property                                                                     Retain the property and enter into a
         securing debt:                                                                 Reaffirmation Agreement.
                                                                                      Retain the property and [explain]: __________
                                                                                        ______________________________________

  
         Creditor’s                                                                   Surrender the property.                             No
         name:
                                                                                      Retain the property and redeem it.                  Yes
         Description of
         property                                                                     Retain the property and enter into a
         securing debt:                                                                 Reaffirmation Agreement.
                                                                                      Retain the property and [explain]: __________
                                                                                        ______________________________________
  
         Creditor’s                                                                   Surrender the property.                             No
         name:
                                                                                      Retain the property and redeem it.                  Yes
         Description of
         property                                                                     Retain the property and enter into a
         securing debt:                                                                 Reaffirmation Agreement.
                                                                                      Retain the property and [explain]: __________
                                                                                        ______________________________________

         Creditor’s                                                                   Surrender the property.                             No
         name:
                                                                                      Retain the property and redeem it.                  Yes
         Description of
         property                                                                     Retain the property and enter into a
         securing debt:                                                                 Reaffirmation Agreement.
                                                                                      Retain the property and [explain]: __________
                                                                                        ______________________________________
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 Debtor 1           Thomas              Alton          Espinosa
                    ______________________________________________________                                                    18-41652
                                                                                                        Case number (If known)_____________________________________
                    First Name           Middle Name          Last Name




   Part 2:          List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                        Will the lease be assumed?

       Lessor’s name:                       
                                 Infiniti Financial Services                                                                    No
                                         2015 Infiniti QX 50                                                                    Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                          No
                                                                                                                                Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                          No
       Description of leased                                                                                                    Yes
       property:


       Lessor’s name:                                                                                                          No
                                                                                                                                Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                          No
                                                                                                                                Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                          No
                                                                                                                                Yes
       Description of leased
       property:
  
       Lessor’s name:                                                                                                          No
                                                                                                                                Yes
       Description of leased
       property:




  Part 3:           Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.



   /s/ Thomas Alton Espinosa
       ___________________________________________                        
                                                                          ___________________________________________
       Signature of Debtor 1                                                  Signature of Debtor 2

            09/27/2018
       Date _________________                                                 Date _________________
             MM /     DD     /    YYYY                                             MM /   DD /   YYYY




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